                                            Case 5:20-cv-03639-EJD Document 262 Filed 05/25/22 Page 1 of 4




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6                                            SAN JOSE DIVISION

                                   7
                                            IN RE TELESCOPES ANTITRUST                        ORDER RE MARCH 21, 2022
                                   8        LITIGATION                                        DISCOVERY DISPUTE RE
                                                                                              PLAINTIFFS’ INTERROGATORY TO
                                   9                                                          SYNTA DEFENDANTS
                                  10                                                          Case No. 20-cv-03639-EJD (VKD)
                                                                                              Re: Dkt. No. 247
                                  11
                                                                                              Case No. 20-cv-03642-EJD (VKD)
                                  12                                                          Re: Dkt. No. 199
Northern District of California
 United States District Court




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                                  14             Direct Purchaser Plaintiffs (“DPPs”) and Indirect Purchaser Plaintiffs (“IPPs”)

                                  15   (collectively “Plaintiffs”) and Defendants ask the Court to resolve their dispute concerning the

                                  16   sufficiency of defendants Synta Technology Corp. and Suzhou Synta Optical Technology Co.

                                  17   Ltd.’s (“Synta defendants”) response to Plaintiffs’ Interrogatory No. 1. The Court finds this

                                  18   dispute suitable for resolution without oral argument. Civil. L.R. 7-1(b).1

                                  19             As explained below, the Court will require the Synta defendants to respond in part to the

                                  20   disputed interrogatory.

                                  21   I.        BACKGROUND
                                  22             At issue is Plaintiffs’ Interrogatory No. 1 to the Synta defendants, which asks:

                                  23                    Describe in detail the decision to discontinue Your business
                                                        operations and destroy Your records. Include in Your description (a)
                                  24                    the identity of all individuals involved in reaching the decision, (b)
                                                        the reasoning behind the decision, (c) the specific date that the
                                  25                    decision was made, (d) the specific date Your business operations
                                                        ceased, and (e) the specific date the records were destroyed.
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                                           For convenience, all citations are to Case No. 20-3639.
                                             Case 5:20-cv-03639-EJD Document 262 Filed 05/25/22 Page 2 of 4




                                   1   Dkt. No. 247, Exs. 1 and 2. The Synta defendants do not object to providing some information

                                   2   concerning their decision to destroy or discard their business records; they object that this

                                   3   interrogatory seeks information that is duplicative of information the Synta defendants have

                                   4   already agreed to provide via deposition testimony, and that it exceeds the scope of relevant

                                   5   discovery. Dkt. No. 247 at 8-10.

                                   6   II.      DISCUSSION
                                   7            The Court first considers the scope of relevant discovery and then considers whether the

                                   8   discovery sought is improper because it is duplicative.

                                   9            A.     Scope of Relevant Discovery
                                  10            In its prior order concerning the Synta defendants’ depositions (Dkt. No. 201), the Court

                                  11   concluded that Plaintiffs may obtain discovery of the reasons the Synta defendants decided to

                                  12   destroy or discard their business records and whether, at the time the records were discarded or
Northern District of California
 United States District Court




                                  13   destroyed, the Synta defendants anticipated further litigation as to which those records would be

                                  14   relevant. See Dkt. No. 201 at 4. In that decision, the Court also concluded there was no

                                  15   justification for discovery of the Synta defendants’ document preservation practices before the

                                  16   date of Plaintiffs’ demand letter to the Synta defendants. Id. Here, the Synta defendants say they

                                  17   also do not object to disclosing when their business operations ceased and when the records were

                                  18   discarded or destroyed. Dkt. No. 247 at 10. However, they do object to Plaintiffs’ discovery of

                                  19   who made the decision to cease business operations, when that decision was made, and the reasons

                                  20   underlying that decision. Id.

                                  21            The Court reaffirms its prior decision regarding the scope of relevant discovery here and

                                  22   accepts the Synta defendants’ representations about the additional information they do not object

                                  23   to disclosing. In addition, the Synta defendants should disclose not only when and why the

                                  24   records were discarded or destroyed, but who made the decision to take those actions.

                                  25            Regarding the disputed discovery concerning the decision to cease business operations, it

                                  26   is not clear from the parties’ joint submission whether that decision was taken before or after the

                                  27   Synta defendants received Plaintiffs’ demand letter. If the decision was taken before receipt of the

                                  28   demand letter, the Court agrees with the Synta defendants that the reasons for the decision and
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                                          Case 5:20-cv-03639-EJD Document 262 Filed 05/25/22 Page 3 of 4




                                   1   who made it are not relevant. However, the Synta defendants have expressly linked the decision

                                   2   to discard or destroy business records with their decision to cease business operations. See id. at 8

                                   3   (“Synta Taiwan and Suzhou Synta do not object to providing information concerning the

                                   4   discarding of business records—a process that, as Plaintiffs will learn, occurred during the normal

                                   5   closure of two businesses when no litigation was anticipated or pending.”). Consequently, if the

                                   6   decision to cease business operations was taken after receipt of the demand letter, then the reasons

                                   7   for the decision and who made it may be relevant. For this reason, at a minimum, Plaintiffs should

                                   8   be permitted to learn whether the decision to cease business operations was made before or after

                                   9   receipt of the demand letter.

                                  10          B.      Whether Interrogatory No. 1 Is Duplicative and Disproportionate
                                  11          The Synta defendants argue that because Interrogatory No. 1 seeks much of the same

                                  12   information Plaintiffs may obtain by deposition, requiring the Synta defendants to answer the
Northern District of California
 United States District Court




                                  13   interrogatory and provide deposition testimony is unduly burdensome and disproportionate to the

                                  14   needs of the case. Dkt. No. 247 at 9. Plaintiffs are correct that there is no per se prohibition on

                                  15   using different discovery tools—document requests, interrogatories, depositions, requests for

                                  16   admissions—to inquire about the same subject matter. See id. at 2-3. But whether a particular

                                  17   interrogatory is unnecessarily duplicative and burdensome of other discovery, and therefore

                                  18   disproportionate to the needs of the case, is a fact-specific judgment that the Court must make.

                                  19          While it is true that Interrogatory No. 1 seeks information that is at least partly duplicative

                                  20   of the information the Synta defendants can be expected to provide in deposition, the Synta

                                  21   defendants have not shown that answering this interrogatory (when limited to relevant subject

                                  22   matter, as discussed above) imposes any additional burden beyond the burden they must undertake

                                  23   to prepare their corporate designees deposition. In these circumstances, the Court concludes that

                                  24   Interrogatory No. 1 is not disproportionate to the needs of the case.

                                  25   III.   CONCLUSION
                                  26          For the reasons explained above, the Synta defendants must respond to Interrogatory No.

                                  27   1, but the response is limited to providing the following information:

                                  28               a) the reasons the Synta defendants decided to destroy or discard their business
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                                          Case 5:20-cv-03639-EJD Document 262 Filed 05/25/22 Page 4 of 4




                                   1                  records,

                                   2               b) the identity of the individuals who made the decision to destroy or discard the

                                   3                  business records,

                                   4               c) the date that the decision to destroy or discard the business records was made,

                                   5               d) the date the records were destroyed or discarded,

                                   6               e) the date the Synta defendants’ business operations ceased, and

                                   7               f) whether the decision to cease business operations was made before or after the

                                   8                  Synta defendants received Plaintiffs’ demand letter.

                                   9   If the decision to cease business operations was made after the Synta defendants received

                                  10   Plaintiffs’ demand letter, the Synta defendants’ response must also include the following

                                  11   information:

                                  12               g) the identity of the individuals who made the decision to cease business operations,
Northern District of California
 United States District Court




                                  13               h) when that decision to cease business operations was made, and

                                  14               i) the reasons the Synta defendants decided to cease business operations.

                                  15   The Synta defendants’ response to Interrogatory No. 1 must be served no later than June 8, 2022,

                                  16   unless the parties agree to a different date.

                                  17           IT IS SO ORDERED.

                                  18   Dated: May 25, 2022

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                                                                                                   VIRGINIA K. DEMARCHI
                                  21                                                               United States Magistrate Judge
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